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                                              February 21, 2023

     VIA CM/ECF

     Hon. Brian R. Martinotti, U.S.D.J.
     United States District Court - District of New Jersey
     Martin Luther King, Jr. Federal Bldg. & Courthouse
     50 Walnut Street
     Newark, NJ 07101

             RE:    Megan Schaffer v. Borough of Paramus et al.
                    Case No.: 2:23-cv-530-BRM-MAH

     Dear Judge Martinotti:

              We represent Plaintiff Megan Schaffer in the above-referenced matter, which was removed
     to this Court by Petition of defendant Kenneth Kaiser on January 30, 2023. See ECF#1. Ten days
     later, defendant Kaiser subsequently filed a Motion to Dismiss, returnable March 6, 2023. See ECF
     #2. The undersigned today filed a Cross-Motion for Remand (ECF #4) and respectfully requests
     that the Court hear its Cross-Motion prior to any consideration of defendant Kaiser’s Motion to
     Dismiss.

              As set forth in Plaintiff’s brief in support of its Cross-Motion, courts of this Circuit have
     recognized that a motion to remand should be decided prior to a dispositive motion such as a
     motion to dismiss. See, e.g., Newton v. S. Jersey Paper Prod. Co., Inc., No. 11:9-CV-17289-NLH-
     KMW, 2020 WL 2059954, at *2 (D.N.J. Apr. 29, 2020) (“Though Defendant’s motion to dismiss
     came earlier in time than Plaintiff's motion to remand, the Court is obligated to consider Plaintiff's
     motion to remand first.”); Chrustowski v. Cumberland Cnty. Guidance Ctr., 2006 WL 3780555,
     at *2 (D.N.J. Dec. 20, 2006) (“Once a motion to remand has been filed, it is incumbent upon the
     Court to proceed to decide that motion first because, if granted, the case is remanded ... to the court
     of initial jurisdiction”).

            We respectfully request that defendant Kaiser’s Motion to Dismiss be administratively
     terminated or denied without prejudice as it is premature and was improperly filed within the 30-
     day period to oppose a removal petition. See Cacoilo v. Sherwin-Williams Co., No. CIV. 11-7039
     NLH/KMW, 2012 WL 2459409, at *1 (D.N.J. June 25, 2012) (denying motion to dismiss without
     prejudice pending disposition to motion to remand); 28 U.S.C. §1446(b).




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       In the event the Court declines to terminate, deny or stay the Motion to Dismiss, please
accept this letter as Plaintiff’s request for an automatic extension of the return date pursuant to
L.Civ.R. 7.1(d)(5) as the motion is dispositive and has not previously been extended or adjourned.

        If the Court should have any questions or require any additional information, please do not
hesitate to contact us. We thank the Court for its attention to this matter.

                                                     Respectfully submitted,
                                                     DeCotiis, FitzPatrick, Cole & Giblin, LLP

                                                     By:      /s/ Gregory J. Hazley

cc: All counsel of record (via ECF)



  SO ORDERED:

  ___________________________
  BRIAN R MARTINOTTI, USDJ
  Dated: 03/02/23




                                                                                            #3267442
